Case 1:19-cr-20812-AHS Document 161 Entered on FLSD Docket 04/05/2022 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                CA SE N O.19-20812-CR-SlN G HM

     UN ITED STATES OF A M ERICA ,

           Plaintiff,



     JESU S G AR CES,
     zIVatsNan'a''

           Defendant,



          ORDER APPROVING STIPULATION REGARDING RESTITUTION AND
       APPOINTING RECEIVER TO M ARSHAL AND SELL DEFENDANT'S PROPERTY

           THIS CAUSE cnme before the Courton Plaintiff's M otion to Approve a Stipulation

     RegardingRestitution (ststipulation)andtoAppointaReceiverto M arshaland SellDefend>nt's
                                                                          '                   .



     Property pursuant to 28 U.S.C. j 2001 and the Federal Debt Collection Proceduye Act
     (tCFDCPA'')at28 U.S.C.jj 3001-3308. Upon due consideration and being otherwise fully
     advised in theprem ises,itishereby,

                    ORDERED AND ADJUDG ED that the Governm ent's M otion to Approve

     Stipulation and to A ppointa Receiverto M arshaland SellD efendant'sProperty is G R AN TED .

     ltisf'
          urther,

              ORDERED AND ADJUDGED that:

                    George Richards of N ational Auction Company is hereby appointed as the

     Receiver to m arshal and sellthe follöwiflg properties which are owned by Defendant Jesus

     Garces and Garces lnvestm ents,LLC :

            2238 N W 5 Street,M iam i,FL 33125
     Case 1:19-cr-20812-AHS Document 161 Entered on FLSD Docket 04/05/2022 Page 2 of 3
z.      #                 '




                   FolioN o.:             01-4103-035-0220


                   LegalDescription: Lot29,LessThe South 5 Feet,ofCity LinePark Amended,                 .

                   adcording to theplatthereof,asrecorded in PlatBook 10,Page 13,ofthePublic                         ',
                   RecordsofM iam i-DadçCounty,Florida.

            6540 SW 43 ST 9M iam i,Florida 33155

                   Folio N o.:            30-4024-008-0520

                   LegalDesqription: TheEast61Feetofthe W est366 FeetoftheNorth % ofTract                    .

                   4,Resubdivision ofBird RoadTerrace,according totheplatthereof,asrecorded in
                   PlatBook 32,atPage 65,ofthePublicRecordsofM iami-DadeCounty,Florida.

                   (herein the(iproperties'').
            George Richards,as Receiver,is authorized to execute the appropriate docum ents to qccom plish
                                                                                              '      '.
             .                                                                                                       .



            and finélizethe saleand'                                                       t,in any
                                   transferoftheproperty,subjectto confirmation bythisColzl'         .           .




            mamlerapproved by theUnited States.TheReceivershallcom ply with theterm ssetforth ip the

            Parties'Stipulation approved and adopted by this Order. The Receiver is directed to enter and

            take possession ofthe Property,to preserveand protectthevalue ofthe Property,and to putthe

            Propertyinto saleablecondition (unless,in hisbestjudgment,itisadvisableto sellitin Stasis''
            condition).
                   2)         Defendant,JesusGarcesand GarcesInvestments,LLC shall:cooperatewith the
            Receiverin thesaleand transferoftheProperty;provide and execute al1documentsnecessary to

            facilitate the sale and trmlsfer ofthe Property;provide a copy ofeach and every lease orterm s of

            occupancy for any parties in possession of the Property; and provide any inform ation that is

            requested in connection with the sale. The defendantshallnotencum berorotherwise take any

            action thatw illresultin a lien againstthe Property.

                                                            1
                            '                                                                                     '
            .                                                                                                         g
          Case 1:19-cr-20812-AHS Document 161 Entered on FLSD Docket 04/05/2022 Page 3 of 3
'
      .
    .k%         '*<                                                                                                   .




                                3)    Any maintenance costs and incidentalnecessary expenses to sellthe Property
                      shallbe advanced by the Receiverand repaid from the proceeds ofsaid sale. Reasonable real

                      estatecpm missionsand legalfeesnecessary to effectuatethesalem ay also be deducted from !he .

                      proceedsofthesal:in accordancewith applicablebusinesspractices.

                                4)    The proceeds obtained from the sale of property, after the payment,of the
                      Receiver's fees and cpsts,shallbe deposited with the Clerk ofthe Court,U.S.District Court,

                      Southern District of Florida, Finr cial Section,400 N orth M iam iAvenue, 8th Floor N orth,

                      M iam i,Florida33128;and                             '

                                5)    The Clerk ofthe Courtshalldisburse the fundsreceived from the sale ofthe
                      subjectpropertyin accordancewith 18U.S.C.j3612.
                                6)    The Stipulation Regarding Restitution signed by the Parties is approved and
                      adopted by theCourt.Thepartiesto theStipulation are ordered to comply with theprovisionsset

                      forththerein,

                                7)    TheCourtshallretainjurisdictionto enforcethetermsofsaidStipulation andthis
                      Order.
                                                                                                     / .. w
                                DONE AND ORDERED in ChambersatFortLauderdale,Florida this                     ,day

                      ofA pril2022.                                                 j



                                                                 RAAG SINGHAL                   x
                                                                 UNITED STATES Dl        lCT JUDGE

                      cc:       CounselofRecord                                                               .




                                                                   2
